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                                                      April 15, 2025

Honorable Michael E. Farbiarz
United States District Judge
Martin Luther King Building & United States Courthouse
50 Walnut Street
Newark, New Jersey 07101

       Re:     Khalil v. Trump, et al., No. 2:25-cv-1963 (MEF) (MAH)

Dear Judge Farbiarz,

       Counsel for Mr. Khalil write to clarify a statement in the letter filed at 12:31 p.m. on April
14. The full immigration court record was filed with the Court on the evening of April 13,
including notices, orders and written rulings by the immigration judge.

                                                      Respectfully submitted,

                                                      /s Farrin R. Anello

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